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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

IN RE: Criminal Cases

     This matter is before the Court upon the Court's own motion:

     IT IS HEREBY ORDERED that government's exhibits in the case listed below
are to be returned to the United States Attorney for appropriate disposition.


     CASE NUMBER            CAPTION                                 HEARING DATE

     4:01cr62         USA v. Eloy Moreno-Torres                     12/13/01
     8:01cr65         USA v. Danny Erdman                           08/02/01
     4:01cr148        USA v. Jeffrey Collins                        08/29/02
     8:01cr200        USA v. Clarence Nash &                        12/11/01
                             Rosalind Russell
     4:01cr216        USA v. Larry Moos, Jr.                        08/01/03
     4:01cr239        USA v. Luis Lopez-Ramires                     12/21/01
     4:01cr244        USA v. Eddie Johnson                          04/08/02
     4:01cr284        USA v. Jose Garcia-Guzman                     07/01/02
     4:01cr304        USA v. Michael Seacord                        03/18/02
     4:01cr309        USA v. Michael Chenier                        02/11/02
     4:01cr3009       USA v. Terry Christensen                      05/28/02
     4:01cr3012       USA v. David Malone                           07/31/01
     4:01cr3023       USA v. Charles Knapp                          11/16/01
     4:01cr3025       USA v. Ricardo Ibarra                         08/28/01
     4:01cr3026       USA v. Alejandro Garcia                       08/07/01
     4:01cr3031       USA v. Jessica Carabajal                      07/16/01
     4:01cr3034       USA v. Salvador Ortega                        5/7/01; 8/27/02
     4:01cr3034       USA v. Gerson Nungaray-Beltran                2/26/02
     4:01cr3035       USA v. Danny Kear                             06/19/01
     4:01cr3043       USA v. Mamadou Fofana                         11/27/01
     4:01cr3051       USA v. Robert Anderson                        09/14/01
     4:01cr3052       USA v. Jaime Quintana a/k/a                   6/8/01; 11/30/01
                             Melecio Salazar
     4:01cr3070       USA v. Clint Robinson                         05/24/02
     4:01cr3073       USA v. Manuel Murillo-Carillo                 8/28/01; 1/23/02
     4:01cr3086       USA v. Isabel Delarosa-Beltran                06/05/02
     4:01cr3087       USA v. Hilario Favela-Ramirez                 09/27/01
     4:01cr3087       USA v. Mariano Valles-Herrera                 05/31/02
     4:01cr3105       USA v. Lisa Mann                              12/17/02
     4:01cr3110       USA v. Raul Longoria                          03/05/02
     4:01cr3122       USA v. Jose Figueroa                          09/19/02
     4:01cr3136       USA v. James Spath                            04/01/02
     4:02cr81         USA v. Melvin Samayoa                         07/30/02
     8:02cr277        USA v. Richard Vieyra                         06/08/05
     4:02cr3003       USA v. Esteban Lopez                          5/20/02; 5/22/02
     4:02cr3006       USA v. Douglas House and                      5/16/02; 1/2/03
                             Joyce House
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4:02cr3008      USA v. Salvador Galaviz-Luna                  11/19/02
4:02cr3016      USA v. David Bockman                          06/18/02
4:02cr3020      USA v. Rodrigo Rodriguez-Mendez               12/19/02
4:02cr3021      USA v. Juan Angulo-Guerrero                   04/03/02
4:02cr3222      USA v. Jose Villegas-Olivas                   05/27/03
4:02cr3022      USA v. Enrique Solano-Machuca                 03/26/02
4:02cr3025      USA v. Kevin Cotton                           05/02/02
4:02cr3027      USA v. Mark Skoda                             08/27/02
4:02cr3033      USA v. Scott Miller Sr.                       06/10/02
4:02cr3035      USA v. Arna Gray                              06/06/02
4:02cr3044      USA v. Michael Horbatko                       07/10/03
4:02cr3047      USA v. Victor Wagner                          10/10/02


DATED this 10th day of February, 2006.



                                   BY THE COURT

                                   s/ RICHARD G. KOPF
                                   United States District Judge
